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EXHIBIT E
Case 1:18-cv-05391-SCJ Document 172-5 Filed 12/17/19 Page 2 of 2

12/16/2019 Fair Fight on Twitter: "In Georgia, if you haven't voted in the past few years, your right to vote can be taken away. You (or someone you ...

Fair Fight @ (‘olow  Y v
@fairfightaction \ nner
In Georgia, if you haven't voted in the past

few years, your right to vote can be taken
away.

You (or someone you know) could be at risk
of being purged from the rolls in a few weeks.
That's why we created the Voter Purge
Lookup Tool. #gapol

Check heres StopThePurge.com

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4:19 PM - 25 Nov 2019

1,735 Retweets 1845 likes QO QBOEOHN® 2

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Sian SVTaylor Biden2020 = @sharonvt75 - Nov 25 Vv

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https://twitter.com/fairfightaction/status/1199120366171496448 1/9
